08-13555-mg              Doc 29194-3               Filed 07/03/12 Entered 07/03/12 16:56:02     Exhibit C
                                                          Pg 1 of 1
                                                             EXHIBIT C

              COMPENSATION BY CLIENT-MATTER NUMBER FOR SERVICES RENDERED
                         BY SNR DENTON US LLP FOR THE PERIOD OF
                          JANUARY 1, 2010 THROUGH MARCH 6, 2012

       PROJECT CATEGORY                            CLIENT MATTER NO.            HOURS      AMOUNT
Real Estate                                             09807760-0006              12.10              $7,217.50
Real Estate                                             09807760-0008              38.10             $26,198.00
Real Estate                                             09807760-0011            1611.60        $1,025,345.50
Real Estate                                             09807760-0012              83.80             $48,508.00
Real Estate                                             09807760-0013              35.20             $15,356.00
Real Estate                                             09807760-0016              64.20             $40,732.50
Real Estate                                             09807760-0020              16.70             $11,439.50
Real Estate                                             09807760-0021             665.90            $389,206.00
Real Estate                                             09807760-0022              72.80             $39,294.50
Real Estate                                             09807760-0023              81.60             $44,653.50
Real Estate                                             09807760-0024               3.70              $2,099.50
Real Estate                                             09807760-0028              11.70              $6,148.50
Real Estate                                             09807760-0029              21.10             $11,296.50
Bankruptcy/Post-Petition                                09807760-0030             389.60            $175,573.00
Real Estate                                             09807760-0035             223.10            $138,650.00
Real Estate                                             09807760-0039             101.70             $62,239.50
Real Estate                                             21416248-0616              38.00             $18,916.00
Real Estate                                             21416248-0617              57.70             $35,012.50
Real Estate                                             21416248-0618               1.90              $1,012.50
Real Estate                                             21416248-0766               5.00              $3,811.50
Real Estate                                             21416248-0795              60.10             $39,294.00
Real Estate                                             21416248-0796               0.80               $672.00
Real Estate                                             21416248-0799               8.20              $6,683.00
Real Estate                                             21416248-0807              53.40             $31,822.00
Real Estate                                             21416248-0810               1.50              $1,222.50
Real Estate                                             21416248-0813              17.60             $11,396.00
Real Estate                                             21416248-0814              32.50             $27,037.50
Real Estate                                             21416248-0815               3.10              $2,604.00
Real Estate                                             21416248-0817              13.60             $11,176.50
Real Estate                                             21416248-0818              25.70             $19,064.00
Real Estate                                             21416248-0824              85.00             $53,398.50
Real Estate                                             21416248-0831              24.70             $20,075.50
Real Estate                                             21416248-0832              45.40             $28,496.00
Real Estate                                             21416248-0836               0.30               $252.00
Real Estate                                             21416248-0838             107.10             $59,349.00
Real Estate                                             21416248-0851             225.00            $152,448.50
Real Estate                                             21416248-0855               0.50               $115.00
Real Estate                                             21416248-0864               4.80              $2,053.50
Real Estate                                             21416248-0865               3.40              $3,004.50
Real Estate                                             21416248-0866              32.20             $27,019.00
Real Estate                                             21416248-0867              14.60             $10,971.00
TOTALS                                                                           4295.00        $2,610,864.50
Total Fees incurred during the Final Fee Application Period of                                  $2,610,864.50
January 1, 2010 through March 6, 2012
Total Fees awarded during the Final Fee Application Period of                                   $2,210,748.12
January 1, 2010 through March 6, 2012
Total fees pending interim allowance:                                                               $370,117.00
Total Fees Sought for final allowance during the Final Fee Application Period                   $2,580,865.12
of January 1, 2010 through March 6, 2012
